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Case 2:23-cv-00936-AMA-CMR                          Document 119-3                        Filed 02/27/25           PageID.936    Page
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                                                                                                                                       DATE:   7 -2S--2
                                                                                                                                                GKREPORTIN
                                                                                               3100 West Ray Road, Suite 141
                                                                                               Chandler, AZ 85226

                                                       ee
                                                          1      03 1°
                                                         Investment Property
                                                                                    Tae        602.224.8818 Phone
                                                                                               602.224.8815 Fax
                                                                                               patrick.stanczyk@ipx1031.com
                                                         Exchange Services, Inc.               www.ipx1031.com


      March 02, 2021

      Forest Anthony'
      Old Republic
                    Vo
      299 S. Main St., Suite 120
               ee
      Salt Lake City, UT 84111
      Phone No: 801 515-7799                           Email: fanthony@oldrepublictitle.com

      Exchange
            at 2
                 No.:                   ee    ee                             Escrow/File No.
      Exchanger:               Karmann Kasten LLC
      Replacement Property: an undivided 3.0241% interest in Advance Care Medical (ACM) located atoy
                  7
      Reflection Drive, Naperville, IL 60564
                                                                                                   2968



                                                   EXCHANGE INSTRUCTIONS

     Investment Property Exchange Services, Inc. is acting as Qualified Intermediary for the above-referenced
     Exchanger (Buyer)

          4.    EXCHANGE DOCUMENTS HAVE BEEN SENT DIRECTLY TO THE BUYER VIA DOCUSIGN.
                PLEASE CONFIRM WITH BUYER THAT THE ASSIGNMENT DOCUMENTS HAVE BEEN
                SIGNED BY THEM BEFORE YOU CLOSE THE TRANSACTION.

         2. Exchanger Certification (bottom section of preceding Sheet) — Before the transfer, obtain the
            Exchanger's signature on the Certification. Return the signed Certification to us immediately upon
                closing.

         3. Notice of Assignment - Prior to closing, give a copy to all Sellers and co-Buyers {if any)                      Return     a copy

               with signed acknowledgement of delivery.

         4. Settlement Statement —Exchanger (and Buyer if Buyer is a disregarded entity or underlying taxpayer with
               aname other than that of the Exchanger) should approve and sign the settlement statement Upon request,
               after the Exchanger has signed, we will also execute the settlement statement The settlement statement
               should list the Buyer and may reference that Investment Property Exchange Services, Inc. is acting as
               Qualified Intermediary under Exchange No. EX-09-31293-PS.       Please send the fully signed Final
               Closing Statement to us immediately upon closing.

         5. Direct Deed/ / Transfer of Title —The deed or other conveyance document should run directly between
            the Seller and the Buyer. We wil! not take title to the Replacement Property.
                                                                                                                      wmesneqee
         6. Refunds After Closing J —If there
                                            - are any post-closing refunds due Exchanger, contact 1PX1031 for further                                |
            instruction to avoid1any potential receipt issues that could impair the tax-deferred exchange

         7.
                                   pete
               Tax Information - All tax information and related forms should be obtained from and/or completed by the
                                    nrte
               Exchanger, using the Exchanger's taxpayer identification number.
                               wed
                                                                                                                                                     |

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               RP Settlement Agt instructions DS 12-19-2019 ©Investment Property Exchange Services, inc., 2019 ~ Ail Rights Reserved


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     PleaseTef--ance
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             “3 or if we can be of further assistance.
     questions,
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     Sincerely,


    Invectmant Mena at,
                        Evehenge~    7 pyInc., a Califomia! corporation,
                   —
    Investment Property Exchange Services                                ed Qualified
    under Exchange “eT                                      popw roe     as
                                                                            eemred Intermediary
                                                                                      wiciisualy



    Patrick Stanczyk
    Assistant Vice President / Exchange Officer




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      RP Setiiamant Art tnetentinnn SAAN an Ansa ~-
      RP Settlement Agt instructions DS 12-19-2019 @Jnvesiment Property Exchange
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                                                                                 oor,      inc., 2019 —All Rights Resarved
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Case 2:23-cv-00936-AMA-CMR                      Document 119-3                   Filed 02/27/25               PageID.938   Page
                                                      4 of 6




         INSTRUCTIONS: This Notice must be delivered to all parties (all Sellers and co-
              Buyers, if any) to the Purchase Agreement before closing of the sale.



        Exchanger. Karmann Kasten LLC                      a           ~    ce     pre tes pease ng ree,
        Replacement Property: an undivided 3.0241% interest in Advance Care Medical (ACM) located at 2968
        Reflection Drive, Naperville, IL


                                                    NOTICE OF ASSIGNMENT

        All parties to the Purchase Agreement for the above listed Replacement Property are hereby notified that
         Buyer has assigned its rights, but not its obligations, under the Purchase Agreement to Investment Property
        Exchange Services, Inc., not individually, but solely in its capacity as Qualified Intermediary, for purposes
        of effecting a tax-deferred exchange under IRC §1031            The assignment relates only to real property
        interests that are intended to qualify as Replacement Property in a like-kind exchange. and not to any
        personal property or other non-qualifying property included with the conveyance contemplated by the
        Purchase Agreement. Notwithstanding the assignment, Buyer is and shall remain solely responsible and
        liable to Seller for the performance of every warranty and obligation of Buyer under the Purchase
        Agreement. Qualified Intermediary has not made or assumed and will not make or assume, nor will
        Qualified Intermediary be liable for, any covenant, duty or obligation of Buyer or warranties that may remain
        in effect after the close of the Purchase transaction




       ACKNOWLEDGEMENT OF DELIVERY: | (the Exchanger, Settlement Agent or other representative)
       acknowledge that | delivered a copy ofin Movie of Assignment to all parties to the Purchase
        A          t on this           day of MWe                       , 202\.



       By    ras \ ot                   Lo.            DZ




       IF APPLICABLE: Acknowledgement by Land Trust or Delaware Statutory Trust:            The undersigned
       Trustee hereby acknowledges that Buyer, a beneficiary under the trust, has assigned Buyer's interest
       under the Purchase Agreement to Qualified Intermediary.

                                                      _ Not individually, but as Trustee under Trust Agreement dated
       (Land Trust or DST Company Name)

                                                      and known as
       (Date of Trust Agreement with Buyer)                              (Name of Land Trust or DST)




       By:      (Signed by Trustee)


                                                                    1
                   Notice to Seller 5-18-2020 ©Investment Property Exchange Services, Inc., 2020 - Ail Rights Reserved




                                                                                              MILLCREEK-GRANT000003
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                                                               5 of 6
wm
SRS




                                                                                                    3100 West Ray Road, Suite 144
                                                                                                   Chandler,
                                                                                                          AZ 85226
rey




                                                                                                   602.224.8818 Phone
                                                               103                   1°
FEY




                                                                                                   602.224.8815 Fax
                                                              Investment Property                  patrick.stanczykK@ipx1034.com
212




                                                              Exchange Services, Inc.              www.ipx1031.com

            Re:        Exchange No.:
                     Replacement Property: an undivided 3.024 1% interest in Advance Care Medical (ACM} located at 2968
            Reflection Drive, Naperville, IL 60564




                                                   IMPORTANT
           Settlement Agent: Confirm that the Exchanger has
           signed| and returned to IPX1031® the Assignment of
           Replacement Property Purchase Agreement BEFORE
           CLOSING THE TRANSFER OF THIS PROPERTY.
            mat         1?
           If they have not, they need to contact IPX1031®
                                               ;                        |



           immediatelyroe
                        before proceeding J with the transfer.

           Exchanger’s Certification:

           Karmann Kasten LLC: / hereby certify that | have
           signed and returned to IPX1031® via DocuSign all
           exchange documents including the Assignment of
           Replacement Property Purchase Agreement for this
           transaction.

          Karmann Kasten LLC



          Kate Grant
          Managing Member




                             aq        aqennen es
                             SA Notice RP 7.2017 ©investment Property Exchange Services, inc., 2017 - Al Rights Reserved.



                                                                                                   MILLCREEK-GRANT000004
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                                                   REAL ESTATE TRANSFER DECLARATION

            Permanent Real Estate Index No. (PIN)                                          a                      Date ofDeed      4/5
                                                                                                                                    als  Cot
                                                                                                                                     ls )Ze e\
            Address of Property                        2975 Showplace Drive, Naperville, [L 60564
               weweeed        Lee euperey!              3                     :                        !
                                               Street1 or Rural\>
                                                                Route



            Full| Actual Consideration\                                                           .$ 153,570)
                                       =          Ir
            Less Amount of Personal Property Included in Purchase
                                                                              i
                                                                                                  $ ©

                    x                        oc ye                                                3       “
          Net Consideration for Real Estate                                                       g 193,570




               .              Airy    Bi          ote          mean
          Amount of Tax Stamps ($1.50 per $500 orpart thereof of taxable consideration)
                                                                                          ™                                 $
                                                                                                                             “
                                                                                                                                 462.00
                                                                                                                                        )
          a                             areimana
          Closing Date2                 3/5/2021a                                    School| Districtt


               .Residential17Property [[]
                                       “7                                   -
                                                                        Non-Residential 1Propertya                    LandLot    O

                   “                                                                                3 declarationI
                   We hereby' declare the full actual1consideration1and above facts' contained in this
                                                                -
                                      to be true and correct. Signature required by seller,; buyer or agentt

            Millrock
             oe                  Fund 1, LLC
                     Investment“ro                                                       a) W. Pleasant Grove, Blvd, Ste. 200 PleasanttGrove, UT 84062
                                                                                       2100                                                          -2
            Mamas
            Name and Address of““e"
                               ps anf(Please Print)
                                                *                                     Street
                                                                                      “ot    or Rural| Route                           -~ ZIP Code
                                                                                                                                 City, State, a
|

     °Signature                             asf
                                        Pr2aL                  C4LerZea                     CR       oo 4-—      st
                                     wi.er or Agentt                         aa
        ASSISKastena LLC*
     Karmann                                                                       326’ Main St.                                 Sterling, CO 80751
                                                                                   vevmaul we
     pene
          ~~       =    aac                  =         =                                                                         wereg ev! veel
     Name and Address ofBuyer (Please Print)                                          Street or Rural Route                      City,
                                                                                                                                 a      State,
                                                                                                                                        ee     ZIP
                                                                                                                                               ee Code

                                                                         ‘
                                                                                                               Sp Rofo
      3
     Signature                       ArnRK                     Ce            Bex                   SS                                       :             soo
                                     Buyer or Agent




            ** For information regarding the status of any outstanding building permits, building fees, or code enforcement actions and
                   outstanding fines on property, you are considering buyingin the City of Naperville:
                         Please call 630-420-6100           © For Building Departmentissues, enter Option # 2
                                                                                                                                                Rev 7/20/11 LMH




          City of Naperville «+ 400 South Eagle Street «# Naperville, IL «# 60540 « Phone (630) 420-4116 «# Fax (630) 305-6226




                                                                                                                 MILLCREEK-GRANT000005
